       Case: 1:21-cv-01776 Document #: 12 Filed: 06/30/21 Page 1 of 2 PageID #:27



                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 VICTOR LEJEUNE,                                        )
                                                        )
                Plaintiff,                              )
                                                        )    Case No. 1:21-cv-01776
         v.                                             )
                                                        )
 RIGHTPOINT CONSULTING LLC and                          )
 GENPACT LIMITED,                                       )
                                                        )
                Defendants.                             )
                                                        )

                                   NOTICE OF SETTLEMENT

       Plaintiff Victor LeJeune and Defendants Rightpoint Consulting LLC and Genpact Limited

(“the Parties”) respectfully notify the Court that they have reached a settlement in this matter. The

Parties accordingly agree and request that the Court stay all proceedings to allow for a final settlement

agreement to be prepared and executed and a stipulation for dismissal to be filed within twenty-one

(21) days.

Dated: June 30, 2021
                                               Respectfully submitted,

                                               /s/ David D. Leishman
                                               David D. Leishman
                                               McGuireWoods LLP
                                               77 W. Wacker Drive
                                               Suite 4100
                                               Chicago, IL 60601
                                               Phone: 312.750.8680
                                               dleishman@mcguirewoods.com

                                               Attorneys for Defendants Rightpoint Consulting LLC
                                               and Genpact Limited


                                                _/s/Daniel Zemans______
                                               Daniel Zemans
      Case: 1:21-cv-01776 Document #: 12 Filed: 06/30/21 Page 2 of 2 PageID #:28



                                      Daniel Zemans
                                      Law Offices of Daniel Zemans, LLC
                                      2023 W. Berteau #1
                                      Chicago, IL 60618
                                      Phone: (773) 706-7767
                                      dzemans@zemans-law.com

                                      Attorney for Plaintiff

146953118_1




                                          2
